394 F.2d 989
    UNITED STATES of America, Plaintiff-Appellee,v.Joseph SERAO, Charles Cafaro, Benjamin Genetempo, Defendants-Appellants, Armand Romanelli, Defendant.
    No. 535.
    Docket 30548.
    United States Court of Appeals Second Circuit.
    May 20, 1968.
    
      ON REMAND FROM THE UNITED STATES SUPREME COURT.
      Before LUMBARD, Chief Judge, and WATERMAN and ANDERSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      After we affirmed the convictions of Serao, Cafaro and Genetempo, 367 F.2d 347 (2 Cir. 1966), the several appellants petitioned the Supreme Court of the United States for the issuance of a writ of certiorari to review those affirmances. The writ having been granted, the judgments of conviction in the district court and the judgment of this court affirming the convictions were vacated and the cases were remanded to us, sub nom. Piccioli v. United States, 390 U.S. 202, 88 S.Ct. 899, 19 L.Ed.2d 1034 (1968) for further consideration in the light of Marchetti v. United States, 390 U.S. 39, 88 S.Ct. 697, 19 L.Ed.2d 889 (1968).
    
    
      2
      After taking further consideration we now on the authority of Marchetti remand the cases to the district court and direct that the indictments be dismissed.
    
    